                             Case 1:06-cr-00059-AWI Document 85 Filed 06/19/06 Page 1 of 3
          A 0 1YYA (Rcv. 1/47) Ordcr Selling Cunditiona of Relei~re




                    UNITED STATES OF AMERICA                                                                                               \

                                                                                      ORDER SETTING CONDITIONS
                                                                                             OF RELEASE

                                                                                  case N u d e r :   /:            0-000 3-4-
                                   Defendant


                  IT IS ORDERED that the release of the defendant is subject to the following conditions:

                    (1) The defendant shall not commit any offcnso in \:iolation of federal. state or local law while on release in this
                         case.

                    12) The defendant shall itnmediately advire thc court, defense counrcl and the U.S. attorney in writing of any
                        ~.hangein addresu and telephone number.

                    (3) The defendant shall appzar at all proceediligs as requircd and shall surrrnder for scrvice of any sentence

                         imposed as directed. The dgfendant shall next appear at (if hlank. to hc notitiedl
                                                                                                                    COURTROOM         - fl&
U.S.   D I S T R I C T COURT, JUDGE

                                                                                                 Dale .md Tlrtle




                                          Release on Personal Recognizance or Unsecured Bond
                  IT IS FURTHER ORDERED rhat the defendant be releascd prov~dedghat:

          ( J )(4) The defmdant promices to appear at all proceedings as required and lo surrender for service of any sentence
                         imposed.

          (      ) ( 5 ) The defendant rxecutes an unsecured hond binding thc defendant to pay the United States the sum of

                                                                                                    dollars ($-                    ~-   )
                         in the event of a failure to appear as required or to surrender as directed for srrvice of any sentence imposed.




 WHITE C O P Y - COURT          YELLOW - D E F E N D A N T        B L U E - U.S. ATTORNEY      P I N K - U S . MARSHAL   G R E E N - PRETRIAL SERVICES

         @.,, ,, ,,.,
               Case 1:06-cr-00059-AWI Document 85 Filed 06/19/06 Page 2 of 3
BRIZAN, Francheska       ADDITIONAL CONDITIONS OF RELEASE
06-0059 AWI
         Upon finding that release by oneof theabove methods will not by itself reasonably assure the appearance of thedefendant
and the safety of other persons and the community, it is FURTHERORDERED that the release of the defendant is subject to the
conditions marked below:

( )        (6)       The defendant is placed in the custody of:

                     Name of person or organization
                     Address
                     City and State                                              Telephone Number

who agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
immediately in the event the defendant violates any conditions of release or disappears.

                     SIGNED:
                                             CUSTODIAN OR PROXY

(X)       (7)        The defendant shall:
          (X)        (a)      maintain or activel\, seck emplo~ment.and orovide proof thereof to the PSO, upon rcquest.
          ( )        (b)      maintain or commence an educational program.
          (x)        (c)      abidc by the following restrictions on his personal associations, place o f abode, or travcl:
                              Reid: at u rc\lJcr~ce1 p n i ~ l r . dh\ I'relrlal Szr\~.'es,anJ nJt mu\c .lr ne a h i c f l l r ~ n l lhls rcr~den;cfi,r nl.lr. lrun 24 h r i
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                              \ < ~ l l l ~prmr
          (   I      (dl      3\0ld dl1 <,1nt3cl sr.th the f o l l o u ~ n gn ~ m e dpers~ns,u ho arc ~ ~ n s ~ d ee~thcr     r c j -11,c~ed   \ ;llm\ or p~ccnual     u.1nc;rr.r
                                                                                                             ..
                                                      . unless in the oresence o f counsel or otherwise an~rovedi n advanee bv the PSO
          (x I       (eJ      report on :I r s r u l l r has11IJ lh; f o l l ~ u l n gaeenc\'.
                              I'rclr.3' Ser\iccs snJ ;,~mpl, u ~ lthclr        l ~ rule.: ard r c ~ u l - ~ t ~ n s
                              comply with the following curfew:
                              refrain from possessing a firearm, destructive deviee, or other dangerous weapon
                              refrain from ~xcessive~seofalcohol,                and any use or unlawful posse~sionofan~rcotic             drug and other controlled substances
                              defined i n 21 USC 6802 unless orescribed b v a licensed medical oractitioner.
                              undergo medical or psychiatric treatment andlor remain i n an institution, as follo\vs: Including treatment for drugialcohol
                              dependency, as approved by the PSO.
                              c\z;olr~l 3 bonJoronar?r~.clnent               to ibrl'e~lonon i d ~ l l n g1.1 appear 3ri:lllurc I r l ahiJe h \ do\ o i t l i e c.~nJtt~~>nr
                                                                                                                                                                          oirelcase.
                              tllu t i l . ~ r \ i n ebum ~ ~ i i n o n ordcs~endtzd
                                                                        cv             prnocrtv SIJC,llO~lpropcn! noild s:cureJ h\. $St1,0110 ~ q o ~Inl \the propen\
                              dcwcnntcJ h\ !he (:uun and ,la&                     b\ I:r~nk Iluh'llr.locatzrl i n At\\:rlzr,CA.            and 550,00L e.fi1.1\ in t h e m
                              desienated bv the Court located i n San Jose, California.
                              post with the court the following indicia or ownership o f the above-describcd propeny, or the following amount or
                              percentage o f the above-described money:
                              cxecute a bail bond with solvent sureties i n the amount of $
                              return to eustody each (\veek)day as o f o'elock aAer bcing releascd each (week)day as of o'clock for employment,
                              schooling, or the following limited purpose(s):
                              surrender any passport to the Clerk, United States Distriet Court.
                              obtain no passport during the pendency o f this ease.
                              =on in pcrron lo thc I'rctrial Scrrtiss ,\qcnc, on the firs1 ~,I~LIIIA da\ rolldu.nc your rr.leae irom cdjtodv
                              -
                              ohL~inn,] parsport dur'nd thc scndcnc~d i ~ hcase             .~




(Copies to: Defendant, US Attorney, US Marshal, Pretrial Services)
                 -    --       Case 1:06-cr-00059-AWI Document 85 Filed 06/19/06 Page 3 of 3
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                                              /,'4
           0 1YYC (Rev 4/91)Ad\8cc of Pcnaltlc~
                                                      - - -,                                                        P.~tr

                                                            Advice of ~ena&esand Sanctions


                 YOU ARE ADVISED O F T H E FOLLOWING PENALTIES AND SANCTIONS:

            A violation of any ofthe foregoing conditions of release may result in the immrdii~teissuance u f a warrant for your arrest,
       a revocation of release, a n order of detention, and a prosecution for contenlpt of court and could result in a term of imprisonment,
'      a fine, or both.
            The commission of any crime while on pre-trial release may result in a11 additional sentence to a term of i~nprisonrncnlof
       not more than ten years, if ihe offense is 3 felony: or a terrn of imprisonment of not more than one year. if the offense is a
 :     misdemeanor. This sentence shall be in addition tn any other rentence.
            Federal law makes it a crime punishable by up to tivc ye;lrs of i~nprisonment.and a $250,000 line or hoth to intimidate or
       attempt to intimidate a witness, victim, juror, informant or officer of the court, or to obstruct a c r i ~ n i l ~investigation.
                                                                                                                          al              It is also
       a crime punishable by up to ten years of i~nprisonrnent.a $250.000 hue or both, to tamper wit11 a \\:itness, victim or inft~rm;rnt.
       or to retaliate against a witness. victim or informant. or lo tlireaten or attempt to d o so.
            If after release, you knowingly fail to appear ;IS required hy the conditions of relcase, or to surrender for the service ot sentence.
       you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you arc convicted of:
            (1) an offense punishable hy death, life impriso~~rnent.      or irllprisonment for a term of tifieell years or I ~ U I -you
                                                                                                                                      e , shall hc
                 fined not more than $250,000 or imprisooed for not more than ten years. or hoth;
            (2) an offense punishable by imprisonment for a tern1 of five years or more, hut less than liftccll ycara, you shall be tined
                 not more than $250,000 or imprisoned for not more than tive years or both:
            (3) any other felony, you shall be fined not more than $250.000 or imprisoned for not more than two ycal-!.. or holh:
            (4) a misdemeanor, ynu shall be fined not more than $100.000 or imprisoned not more than uric year, o l both.
            A tern1 of imprisonmen1 imposed for failure to appear or surrender shall he in addition to the sentence liv any other offe~lse.
       In addition, a failure to appear may result in the forfeiture of any bond posled.

                                                            Acknowledgement of Defendant
           1 acknowledge that I am the defendant in this case and that I am awale (of thc conditinnu of release. 1 promise to obey all
       conditions of release. to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties
       and sanctions set ibrrh above.




       (   /
             /"
             )
                                                        Directions to United States Marshal
                  The defendant is ORDERED released xfter proce\sing.
       (     )    The United States marshal is ORDERED 10 keep the defendant in custody until notified by the clerk or judicial officer that
                  the defendant has posted bond alidior complied with all other conditio
                  the appropriate judicial officer at the time and place specified, if
                  Date:



                                                                                       SANDRA M. SNYDER, U,          4 . MAGISTRATE JUDGE
                                                                                               Name and Title of Judicial Officer




       WHITE COPY - COURT              YELLOW - DEFENDANT          BLUE U.S.AlTORNEI         PINK- U S MiiRSHAL             GREEN PRETRIALSERVICES
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